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      In The United States Court of Federal Claims
                                             No. 12-507L

                                       (Filed: October 18, 2013)
                                              __________
 ARTHUR P. BAILEY, JR. AND
 CATHY BAILEY, et al.,
 For Themselves and As Representatives of
 a Class of Similarly Situated Persons,

                         Plaintiffs,

        v.

 THE UNITED STATES,

                         Defendant.
                                             __________

                                              ORDER
                                             __________

        On October 17, 2013, defendant filed an unopposed motion to lift the stay of proceedings
entered on October 8, 2013 and to reset deadlines in this case. Accordingly, the court hereby
adopts the following schedule:

       1.       On or before October 31, 2013, the parties shall notify the court regarding
                whether there are any remaining Claims Book objections; and

       2.       On or before March 14, 2014, the parties shall file a joint status report
                discussing the status of the joint appraisal process and their progress in
                resolving this case without further litigation.

       IT IS SO ORDERED.



                                                       s/ Francis M. Allegra
                                                       Francis M. Allegra
                                                       Judge
